Filed 03/23/16                                         Case 15-14228                                                      Doc 79


                                   UNITED STATES BANKRUPTCY COURT
                                    EASTERN DISTRICT OF CALIFORNIA
                                             CIVIL MINUTES


    Case Title :          Oscar Gutierrez                                         Case No : 15−14228 − B − 13
                                                                                     Date : 03/23/2016
                                                                                     Time : 01:30

    Matter :              [21] − Motion for Relief from Automatic Stay Filed by Creditor Carlos Garcia (Fee Paid
                          $176) (eFilingID: 5697015) (msam)


    Judge :               Rene Lastreto II                            Courtroom Deputy : Jennifer Dauer
    Department :          B                                                   Reporter : Electronic Record


    APPEARANCES for :
    Movant(s) :
    None
    Respondent(s) :
    None


    HEARING CONTINUED TO: 4/13/16 at 01:30 PM

    The hearing was continued for the following reason(s):
    There having been no appearance by the parties at the scheduled hearing, the court continued the matter. The court
    adopts the findings as set forth in the court's civil minutes for the hearing held on January 28, 2016, docket number 58.

    The court will prepare a civil minute order.
